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     JOSE JUAN BARRERA HUERTA
 6
 7                              UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN FRANCISCO VENUE
10
     UNITED STATES OF AMERICA,         )                 No. 21-cr-00252-001 JD
11                                     )
                Plaintiff,             )
12                                     )                 DEFENDANT BARRERA HUERTA’S
                                       )                 SENTENCING MEMORANDUM
13         vs.                         )
                                       )
14   JOSE JUAN BARRERA HUERTA,         )
                                       )
15              Defendant .            )                 DATE: April 25, 2022
                                       )                 TIME: 10:30 a.m.
16   _________________________________)                  DEPT: Hon. James Donato
17          Defendant JOSE JUAN BARRERA HUERTA remorsefully appears before this
18   honorable Court for sentencing. The defense respectfully requests that the Court sentence Mr.
19   Barrera Huerta to 40 months of imprisonment, followed by four years of supervised release
20   with the conditions recommended in the Presentence Investigation Report (hereafter “PSR”).
21   As explained below and in the PSR, there are numerous mitigating circumstances warranting
22   a downward variance from the applicable guideline range, including Mr. Barrera Huerta’s
23   poor living conditions and exposure to violence in Mexico, his exemplary performance on
24   pretrial release, his close relationship with his minor children and their mother, and his strong
25   work ethic.
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 1   I.      MR. BARRERA HUERTA’S BACKGROUND
 2           Mr. Barrera Huerta is 40 years old. He was born and raised in Michoacan, Mexico
 3   under difficult circumstances. His family was very poor and struggled to make ends meet.
 4   Their home was a house on a ranch that consisted of two rooms, with a kitchen and toilet
 5   outside. Mr. Barrera Huerta shared a bedroom with his younger sister. In order to help the
 6   family financially, Mr. Barrera Huerta stopped attending school in the ninth grade and began
 7   working as a fisherman. PSR at ¶¶ 55, 68.
 8           Although not a victim of abuse at home, Mr. Barrera Huerta was exposed to a
 9   tremendous amount of violence in his community. He often heard gunfire in the
10   neighborhood. Drug cartels killed many people he knew, including members of his own
11   family. Other family members were targeted for execution, but fortunately survived. Id. at
12   ¶ 55. “Exposure to community violence has been linked both to the presence of clinical
13   symptomatology and impairments in normal development.” Michael Lynch, Consequences
14   of Children’s Exposure to Community Violence, Clinical Child and Family Psychology
15   Review, Vol. 6, No. 4, December 2003 at 266.1 In addition, “many studies have demonstrated
16   that exposure to community violence can be traumatic for children.” Id. at 267.
17           Because of the reoccurring violence in his neighborhood, Mr. Barrera Huerta left
18   Mexico at age 18 and immigrated to California. PSR at ¶ 55. After arriving here, Mr. Barrera
19   Huerta obtained a work visa. He has now been steadily employed at various jobs for more
20   than 20 years. Initially, Mr. Barrera Huerta worked as a cook and then operated machinery
21   at Jimbo Candy. He was later employed by a recycling company. From 2012 until 2016, he
22   was a laborer at a friend’s construction company in San Jose. Mr. Barrera Huerta’s next job
23   was with Better Brand Vitamin Company, where he cooked vitamins from October 2016
24
25           1
            https://www.researchgate.net/profile/Michael-Lynch-3/publication/8921269_Consequen
26   ces_of_Children's_Exposure_to_Community_Violence/links/5485952d0cf283750c372b0e/Cons
     equences-of-Childrens-Exposure-to-Community-Violence.pdf
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 1   until his arrest on September 16, 2020. Id. at ¶¶ 67-68.
 2           While working in the United States, it was very important to Mr. Barrera Huerta that
 3   he be able to provide financial support to impoverished family and friends in Michoacan. Mr.
 4   Barrera Huerta found, however, that even though employed, he could not keep up with the
 5   support needed in Mexico and pay for his own living expenses. Several family members in
 6   Mexico had medical emergencies and Mr. Barrera Huerta had to pay for their treatment. In
 7   addition, Mr. Barrera Huerta’s oldest daughter was born on October 3, 2018, adding another
 8   family member to the list of persons he was assisting. In order to meet the financial
 9   obligations he had assumed, Mr. Barrera Huerta made a very unwise decision that he deeply
10   regrets today. He became a drug seller, using the proceeds from his illegal business to make
11   up for the shortfall in his legal income. His drug sales resulted in state court convictions in
12   2013 and 2015, but unfortunately these convictions did not deter him from continuing in the
13   drug business. With this federal prosecution, however, it is clear that Mr. Barrera Huerta’s
14   criminal activity has come to an end and he has committed himself to leading a law-abiding
15   life.
16           Following his arrest on September 16, 2020. Mr. Barrera Huerta spent seven days in
17   custody. Upon being released, Mr. Barrera Huerta fully complied with all of his release
18   conditions, with one exception. On October 21, 2020, he failed to submit to a random drug
19   test, but as explained in the PSR, he was confused about the testing protocol due to language
20   difficulties. PSR at ¶ 4. Once the procedure was clarified, Mr. Barrera Huerta appeared for
21   all required testing and did not produce a single positive test.
22           In addition, Mr. Barrera Huerta found new employment after his release. From June
23   2021 to March 2022, he worked as a driver for Inner City Delivery in San Leandro. On
24   March 14, 2022, he started his current employment as a landscaper with BrightView
25   Landscaping. Id. at ¶ 67.
26           In 2021, Mr. Barrera Huerta and his partner, Rebecca Marisol Diaz Mesa, had a
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 1   second daughter. Mr. Barrera Huerta is a very devoted father, spending his free time caring
 2   for his children at home and taking them to the beach or the park, or out for walks. Id. at ¶
 3   56.
 4            As evident from the attached letters, Mr. Barrera Huerta has strong support from his
 5   family and community. Ms. Diaz Mesa describes him as “a kind hearted person,” who is
 6   “always willing to lend anyone a hand.” He is also “a hard working man, very family
 7   oriented, (and a) positive person.” Their two daughters “are very attached to him.” “Jose Juan
 8   is an amazing father to our girls, he is very involved in their daily routines and spends quality
 9   time with the girls after work usually taking them to the park or a walk around our
10   neighborhood.” See Letter from Rebecca Marisol Diaz Mesa, attached as Exhibit A.
11            Mr. Barrera Huerta’s sister, Yanet Barrera Huerta, notes that her “ brother has always
12   helped our family and close friends in Michoacan and in the US.” He has also “looked out for [her]
13   3 kids, including them in their family activities.” She and her brother “talk daily” and she is very
14   grateful that he is so involved in the care of their parents, who live in Michoacan. See Letter from
15   Yanet Barrera Huerta, attached as Exhibit B
16            In his letter, close friend Carlos Nava writes that Mr. Barrera Huerta “is responsible, loyal
17   and has a helpful nature.” He is “genuinely good to everyone and does so without expecting anything
18   in return.” According to Mr. Nava, there have “been countless times where (Mr. Barrera Huerta)
19   helped me out through struggles of mine without a question, and I know many people can say the
20   same.” See Letter from Carlos Nava, attached as Exhibit C.
21            See also Letter from former co-worker and close friend Donald Mantilla (Mr. Barrera
22   Huerta is “a hard working man with very good work ethics and most important a great father
23   and a great family man”), attached as Exhibit D; Letter from friend Dora Luz (Mr. Barrera
24   Huerta is “a family man . . . devoted to taking care of his family and loved ones”), attached as
25   Exhibit E.
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 1   II.      PLEA AGREEMENT
 2            Mr. Barrera Huerta and the government entered into a written plea agreement pursuant
 3   to Rules 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of Criminal Procedure. Mr.
 4   Barrera Huerta pled guilty to Count One of an Information charging him with distribution
 5   of 50 Grams and More of a Mixture and Substance Containing a Detectable Amount of
 6   Methamphetamine in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii). Paragraph 7 of
 7   the plea agreement permits Mr. Barrera Huerta “to argue for a variance from the Guidelines
 8   range determined by the Court based on 18 U.S.C. § 3553(a) factors.”
 9   III.     PSR
10            The PSR determined that Mr. Barrera Huerta is safety valve eligible and therefore has a total
11   offense level of 25. With a Criminal History Category IV, the applicable guideline range is 84 to 105
12   months. PSR at ¶ 90. The PSR recommends that the Court vary downward from the guideline range
13   and impose a custody term of 63 months followed by four years of supervised release. According
14   to the PSR, “The guideline range does not address Mr. Barrera-Huerta’s personal history and
15   characteristics and his time on U.S. Pretrial Services supervision.” In addition, the PSR notes that
16   “Mr. Barrera-Huerta is facing potential deportation and will be separated from his young family, and
17   this alone could be even a bigger consequence for him.” PSR, Sentencing Recommendation, at 3.
18            Mr. Barrera Huerta agrees with the PSR that the mitigating circumstances warrant a
19   downward variance from the applicable guideline range, but believes he is entitled to a
20   greater variance. He asks that he be sentenced to 40 months in custody followed by four years
21   of supervised release.
22   IV.      MR. BARRERA HUERTA RESPECTFULLY REQUESTS THAT HE BE
              SENTENCED TO 40 MONTHS IMPRISONMENT FOLLOWED BY FOUR
23            YEARS OF SUPERVISED RELEASE WITH THE CONDITIONS
              RECOMMENDED IN THE PSR
24
25            In United States v. Carty, 520 F.3d 984, 991 (9 th Cir. 2008), the Ninth Circuit
26   explained that,
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 1            The overarching statutory charge for a district court is to “impose a sentence
              sufficient, but not greater than necessary” to reflect the seriousness of the
 2            offense, promote respect for the law, and provide just punishment; to afford
              adequate deterrence; to protect the public; and to provide the defendant with
 3            needed educational or vocational training, medical care, or other correctional
              treatment. 18 U.S.C. § 3553(a) and (a)(2).
 4
 5            All sentencing proceedings are begun by the district court calculating the applicable
 6   Guidelines Range. The district court then should consider the sentencing factors set forth in
 7   section 3553(a) to determine if they support the sentence suggested by either of the parties.
 8   Carty, 520 F.3d at 991. These factors include:
 9            the nature and circumstances of the offense and the history and characteristics
              of the defendant; the need for the sentence imposed; the kinds of sentences
10            available; the kinds of sentence and the sentencing range established in the
              Guidelines; any pertinent policy statement issued by the Sentencing
11            Commission; the need to avoid unwarranted sentence disparities among
              defendants with similar records who have been found guilty of similar
12            conduct; and the need to provide restitution to any victims. 18 U.S.C. §
              3553(a)(1)-(7).
13
14   Id.
15            Here, as identified below and in the PSR, there are many sentencing factors that
16   support the sentence requested by Mr. Barrera Huerta.
17            A.     Nature of Prior Criminal Record
18            While Mr. Barrera Huerta has a criminal record, all but one conviction involves a
19   nonviolent crime – narcotics-related offenses and driving under the influence of alcohol. His
20   only prior crime of violence was a misdemeanor infliction of corporal injury while
21   intoxicated in 2013. In addition, Mr. Barrera Huerta has no history of possessing or using
22   dangerous weapons. The longest sentence previously imposed on Mr. Barrera Huerta was
23   720 days (for which he served only half the term). PSR at ¶ 43. The 40-month sentence
24   recommended by the defense is significantly longer and will have a strong deterrent effect
25   on him.
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 1          B.     Traumatic Experiences in Mexico
 2          Mr. Barrera Huerta had to cope with significant traumas while growing up on Mexico.
 3   His family was very poor. He had to leave school in ninth grade so that he could work to help
 4   support his family. In addition, his community was unsafe. Mr. Barrera Huerta heard frequent
 5   gunfire and his community was plagued by drug cartel murders, including the killings of
 6   family members. The reoccurring violence caused Mr. Barrera Huerta to immigrate to the
 7   United States at age 18.
 8          C.     Positive Performance While on Pretrial Release
 9          Other than one missed drug test at the outset of pretrial release, Mr. Barrera Huerta
10   has performed extremely well over 19 months of supervision. All drugs tests were negative,
11   there were no new arrests, and all other conditions were fully satisfied.
12          D.     Parental Obligations
13          As the father of two daughters, ages three and one, Mr. Barrera Huerta has significant
14   parental obligations. To date, he has been very involved in the lives of his children, providing
15   them care, attention, and financial support.
16          E.     Strong Work Ethic
17          Since leaving school in ninth grade, Mr. Barrera Huerta has been almost continuously
18   employed in a variety of jobs, including fishing, construction, vitamin manufacturing,
19   delivery, and landscaping. He has provided financial support to family and friends both in
20   the United States and in Mexico.
21          F.     Likely Deportation
22          Mr. Barrera Huerta is likely to be deported after he completes his sentence. As the
23   PSR notes, being separated from his young family will likely be a serious consequence of his
24   conviction.
25          G.     Strong Family and Community Support
26          As the attached letters indicate, Mr. Barrera Huerta has strong support both from his
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 1   family and his community. This support provides him with a substantial incentive to not
 2   reoffend. Mr. Barrera Huerta does not want to disappoint his family and friends again.
 3   V.      MR. BARRERA HUERTA SHOULD BE PERMITTED TO VOLUNTARILY
             SURRENDER FOR SERVICE OF HIS SENTENCE AT THE BOP
 4
 5           According to the PSR, “[i]t appears the defendant is a person whose release is
 6   restricted under 18 U.S.C. § 3143.” PSR, Sentencing Recommendation, at 3. For that reason,
 7   the PSR states that “the defendant is not considered to be a good candidate for voluntary
 8   surrender.” Id. Under 18 U.S.C. § 3145(c), however, a remand to custody is not required if
 9   a defendant “ meets the conditions of release set forth in section 3143(a)(1)” and “it is clearly
10   shown that there are exceptional reasons why such person’s detention would not be
11   appropriate.”
12           Here, the conditions for release set forth in § 3143(a)(1) have been met. There is
13   “clear and convincing evidence that (Mr. Barrera Huerta) is not likely to flee or pose a danger
14   to the safety of any other person or the community, if released.” During more than 19 months
15   in which this case has been ongoing, Mr. Barrera Huerta timely appeared in court whenever
16   required and had no arrests or contacts with law enforcement. He also has no history of flight
17   during the pendency of his prior state court cases. Finally, but for a misdemeanor committed
18   almost nine years ago, he has not history of violence.
19           In addition, there are exceptional circumstances why a remand at sentencing would
20   not be appropriate. Mr. Barrera Huerta is the father of very young daughters, ages one and
21   three. He is a substantial source of their financial support. If Mr. Barrera Huerta is not
22   remanded, he can continue to work and pay for children-related expenses while awaiting
23   BOP designation and surrender. In addition, voluntary surrender will allow the family
24   additional time to prepare for life without Mr. Barrera Huerta at home.
25   VI.     CONCLUSION
26           Due to the many mitigating circumstances outlined above and in the PSR, the Court
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 1   should vary downward from the applicable guideline range and sentence Mr. Barrera Huerta
 2   to 40 months of imprisonment followed by four years of supervised release with the
 3   conditions recommended in the PSR. Imposing a greater term of imprisonment is
 4   unnecessary to achieve the sentencing goals of 18 U.S.C. § 3553(a). In addition, the Court
 5   should allow Mr. Barrera Huerta to voluntarily surrender to the BOP facility to which he is
 6   designated because the conditions for release under 18 U.S.C. § 3145(c) have been satisfied.
 7   DATED: April 11, 2022                            Respectfully submitted,
 8
 9                                                     /s/ Mark Goldrosen
                                                      MARK GOLDROSEN
10                                                    Attorney for Defendant
                                                      JUAN JOSE BARRERA HUERTA
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